        Case 8:04-cr-00374-JSM-AEP Document 307 Filed 08/16/07 Page 1 of 6 PageID 580
AG 2458 (Rev 06/05) Sheet I -Judgment In a Crlrmnal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CFUMIYAL CASE
                                                               CASE NUMBER: 8:04-cr-374-T-30TBM
                                                               USM NUMBER: 48964-018
VS.




CHARLES CAMACHO-DUKE
                                                               Defendant's Attorney: Milrcehno I. Huena, 111, cja.

THE DEFEiiDAXT:

-
X pleaded guilty to count(s) ONE of the Indictment.
- pleaded nolo contendere to count(s) w h c h was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTlOii                   NATURE OF OFFENSE                             OFFENSE ENDED

                                    Conspuacy to Import ~ n t othe Un~ted        September 9,2004                    One
                                    States Fwe K ~ l o g r mor More of
                                    Cocame


       The defendant is sentenced as provided in pages 2 through 6 ofthis judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

- The defendant has been found not guilty on count(s)
X Count(s) TWO and THREE are dismissed on the motion of the United States.
-
IT I S FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully pa@.
If ordered to pay restitution, the defendant must notify the court and United States Attomey of any m a t e d change in economnic
cil-cumstances.


                                                                                 Date of Imposlnon of Sentence. August 16,2007




                                                                                 DATE: August     A.2007
         Case 8:04-cr-00374-JSM-AEP Document 307 Filed 08/16/07 Page 2 of 6 PageID 581

A 0 245B (Rev 06/05) Sheet 3 - Imprisontnent (Judgment in a Criminal Case)
Defendant:          CHARLES CAblACI-10-DUKE                                                       Judgment - Page     of 3
Case No.:           S:04-cr-374-T-30TBl'vl




         After considering the advisory sentencing guidelines and all of the l'actors identified in Title 18 U.S.C. $5 3553(a)(1)-
(7), the court finds that the sentence imposed is sufficient, but not greater th:m necessary, to comply with the statutory
purposes of sentencing.


        'The defendant is liereby cotnmittcci to the custody of theUnitec1 States 13.~11-e;lu
                                                                                           ot'Prisons to be imprisoned for a total
term of ONE HlTNDRED allti 'J'HIIITY-FIVE (135) MONTHS as to Count O n e o f t h e Intiictrncnt. The defendant will be
given credit for the time he served in Columbia based on the date listed in the PSI report.



-   The court makss thc h l l ~ w i i ~recoilmlendations
                                         g               to the Bureau of Prisons:

S The defendant is remanded to the custody of thc United States Marshal.
-
- Thc defendant shall surrender ro the United Statcs Marshal for this district.

          - at - a.m.ip.m. on -.
          - as notified by the United States Marshal.

- The defendant shall sun-endcr for ser\.ice of sentcncc at the ~nst~tution
                                                                         desiznated b> ttic BLIIULI
                                                                                                 of P ~ I S O ~ S

          - bcfore 2 ?.in. on -.
          - as notified by t112 l!ni[cd States Marshal.
          - as notified by the Prohtion or Pretrial Services Office.




            I have executed this judgment as follows:




            Defendant delivered on                                         to
- at                                                                   with a certified copy oi'this judgn~snt.


                                                                                  United States Marshal

                                                                       By:
                                                                                          Deputy United States h'lasshal
          Case 8:04-cr-00374-JSM-AEP Document 307 Filed 08/16/07 Page 3 of 6 PageID 582
40 245B iRc\.. 0 6 ' 0 5 ) Shcel3 - Superwsed Release (Judgment III a Cr~minalCasc)

Dcfendan t:         CHARLES CAMACHO-DUKE                                                                 Judgment - Page 3of
Case No.:           8:04-cr-374-T-30TBhl
                                                            SUPERVISED RELEASE

            Upon release from i ~ n p r i s o n m e n t ,t h e d e f e n d a n t shall be on supervised release f o r a t e r m of THREE (3) YE..IRS as t o
C o u n t O n e of t h e I ~ ~ c l i c t m e n t .

         The defendant must report to the probation oflice in the district to which t l dcfendant
                                                                                         ~        is released within 72 hours u f release from
the custody of the Bureau o f Prisons.

T h e defendant shall not coimnit another federal. state, o r local crime. The defendaiit shall n o t u ~ l l a ~ v f u lpossess
                                                                                                                         ly      a contl-olled substance.
T h e defendant shall refrain from any unlawfbl use o f a controlled s~tbstarice.T h e defendant sliall submit t o one drug test nithin 1 days
of release from imprisonment and at least two periodic drug tests thereafter, as iletern~inedby the COL~I-t.

          The defLndant shall cooperate in the collection o f DNA as directed by the probation officer.

            If this juiignleilt inlposes a fine or I-estitution it is a condition o f supen.iszd release that the defendant pay 111 accordance \c'ith the
            Schedule o f Pa}ments sheet o f this judgment.

           T h e defendant must comply with t h e standard conditions that have been adopted by this court as well as wilh a n y additional
           conditions on the attached page.



           the defendant shall not leave the jud~cialdistr~cr ithout the perm~ssio~l
                                                                                  of the cour~or psobat~onofficer;

           the defendant shall report to the probation olticer and shall submit a truthful and complete written report within the first tivc days of cach
           rnoiitli;

            the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the proba~ionoft7cc.r;

            the defendant shall support his or her dependents and meet other family responsibilities;

            the dcfendant shali work regularly at a la\\;ful occupation, unless excused b> thc prob;~tionofficer for schooling traininz, or oriie~
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

            the defendant shall rcfrairi from excessive use of alcohol and shall not purchasej posscss, use, distribute, or adniinister any controllcd
            substance or any paraphernalia relatcd to any controlled substances, except as prescribed by a physician:

            the dcfcndanr shall not li-equcnt places where controlled substances are illee~llysold, used, distributcd, or administered,

            thc dctl-nil~intshall not assoclatt: with any persons engaged in criminul activ~tyand shall not associate with any person conv~ctcdof a
            felony, unless granted pesmission to do so by the probation ol-ficer;

            the defendant shall pcrmit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contnband observed in plain v-iuw of the probation officer;

            the dcfenilant shall not~fythe probation officer within seventy-two hours of being arrcstcd or questioned by a la\\) enforcc~ncntofficcr:

            the defendsnt shali not enter into any agreement to act as an infos~iieror a special agent of a law eriforccnlent ngcncy wilhout the
            perniiss~onof the court; and

            as directed b) thc probation officer, the defendant shall notify third parties of risks tlial may be occasioned by thc defendant's criniinal record
            or personal history or characteristics and shall permit the probation officer to iiialtc such notifications and to confilm the defendant's
            conipliance with such notification requirement.
      Case 8:04-cr-00374-JSM-AEP Document 307 Filed 08/16/07 Page 4 of 6 PageID 583

A 0 235B (Rev. 06!05) Shcet 3C - Supervised Release (Judgment in a Criminal Casc)
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Defendant:         CHARLES CAh4ACHO-DUKE                                                      Judgment - Page 4 of
Case Lo.:          S:04-cr-3 74-T-30TBM

                                        SPECIAL CONDITIOIXS OF SUPERVISlOK

          The defendant shall also comply with the following additional conditioix of'sirpcrvised release:

-
S         If the dcli-ndant is deported, helshe shall not be allowed to re-enter the United States tvithout rhe express permission of the
          appropriate govenme tltal authority.

-
X         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

X
-         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes rando~n
          drug testing not to exceed 104 tests per year.
       Case 8:04-cr-00374-JSM-AEP Document 307 Filed 08/16/07 Page 5 of 6 PageID 584
A 0 345B (Rcv 06:Oj) Sheet 5 - Criminal Monetary Pcnaltics (Judgment in a Criminal C:isc)

Defendant:          CHARLES CAMACI-IO-DUKE                                                     Judgment - Page 5 of 6
                                                                                                                    --
Case No.:           S:04-cr-374-'I'-30TBM

                                           CRIYllN,IIL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties imder rhe schedule of payments on Shect 6.
                             Asscssment                            Fine                        Total Restitution

          Totals:            $1 00.00                              Waived                      N/A


-         The determination of restinition is def'crred until       .                                                ( A 0 2. 5 C ) \vill
                                                                            An Anleidcd Jrdgnlcwt iil (7 Crimim~ICCISV
          be entered after such determination.
-         The defendant must make restitution (including comlsi~mitysestitution) to the follow in^ payees i n the amoi~nl1 sted
          below.
          I f the defendant malies a partial payment, each payee shall receive nn approximately proportioned payment, unl ess
          specified otherwise in the priority order or percentage payment colu~nnbelow. However, purs~lantto 18 U.S.C. $
          3664(i). all nvn-fedcral victims must be paid before the Cnited States.


Name ot' Payee                                  Total Loss*                 Restitution Orderccl                Priority or Percentage




                             Totals:

-         l<estihitionamount ordered pursuant to plea agreement S
-         The defindm c nu st pay interest on a h e or restitution of more than $2.500. unless the restitution or fine is paid in full
          beSol-e the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. tj 361 2(Q. All of the payment options on Sheet
          6 may be sub.ject to penalties for delinq~wicyand defi~iult:pursuant to 1 S U.S.C. S 3612(g).

 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine --        restitution.
         -          the interest sequiremcnt for the - fine - restitution is modified as follows:


* Fi~ldingsfor the total amount of losses are required under Chapters 109A. 1 10, 1 10.4, and 1 13.4 of Title 1 S for the offenses committed
on or after September 13. 1994, but before April 23. 1996.
       Case 8:04-cr-00374-JSM-AEP Document 307 Filed 08/16/07 Page 6 of 6 PageID 585
1 0 245B (Re\. 06'05) Shsct 6 - Schcdule of Paymmts (.ludgment in a Criminal Case)

Defeildant:        CHARLES CAhIACHO-DUKE                                                          Judgment - Page 6of 6
Casc No.:          S:04-cr-374-T-30TBM



                                                     SCHEDULE OF PA\'YIE!YTS



Having assessed the defendant's ability to pay; payment of the total criminal monetary penalties are duc as follows:

-4.       X        Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                   , or

                                  in accordance - C, - D, - E or - F below: or
B.       -         Payment to begin inmediately (may be combined with -C'. -L). or -F below): or
C.       -         Payment in equal                   (e.g., weekly, montldy, quarterly) installn~entsof $          over a period
                   of           (e.g., months or years), to conunence            days (e.g.. 30 or 60 days) after the date o r this
                   jitdgine~it;or
D        -         Pajrmsnt in equal             (e.g., weekly. monthly. cl~ni-terly)installments of S           over a p s r ~ o dof'
                               . (e.g.?~nonths01-ytlars) to conme~ice                     (e.g. 30 or 60 days) after selease fi-om
                   imprison~nentto n tern1 ol' supervision: or
E.       -        Payment during the term of supervised release will commence within              (e.g., 30 or 60 days)
         after release from imprisonment. The court will set the payncnt plan based on an assessment of the defenclnnt's
         abilitv to pay at that t ~ m e or
                                        .
F.       -         Spt'ci:~linstructions regarding thc paylncnt of criminal monctary pcnaltics:




Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during ~nlprisonment. 1 1 criminal monetary penalties. except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program. arc made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward m y criminal nloneta~ypenalties imposed.

-         Joint and Sevcral
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amoiint, Joint and
Several Amount, and corresponding payee. if appsopriate:


-         The defcndunt shall pay the cost of prosecution.
-         The defcndant: sh:dl pay thc following court cost(s):

li_       The defendant shall forfeit the defendant's interest in the following property to the Unitcd States:
        The Court orders that the defendant forfeit to the United States ilrunediatcly and voluntarily any and all assets and
property, or portions thereot: subject to forfeiture, which are in the possession or control oi'the defendant or the defendant's
nominees.
                    l appliccl in the Solloning order: (1) assessment, ( 2 ) restitulion principal. (3) restitution interest, ( 4 ) fine princip~~l,
l'aymcnts s l ~ i l be                                                                                                                            (5)
fine interest, (6) cunmiunity restitution, (7) penalties, and (8) costs, including cost of prosecution and courl costs.
